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@   WDM; USA02017R00523                                                         '~T leT 0" t.n:.
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                                IN THE UNITED STATES DISTRICT                 CotlRT             17 AM /0: S9
                                   FOR THE DISTRICT OF MARYLAND                              _          Fr Il-':

     UNITED STATES OF AMERICA                             *                             I.       'j-l;L;       T

              v.                                          :        CRIMIN~~O.YLU&;y~~.dLf1'1
                                                          *
     TYLER KHAN LIEN,                                     *        (Conspiracy to Commit Mail Fraud,
                                                          *        18 U.S.c. ~ 1349; Forfeiture, 18 U.S.c.
                          Defendant                       *        ~~ 981(a)(I)(C) and 982(a)(2), 21
                                                          *        U.S.c. ~ 853, and 28 U.S.C. ~ 2461(c»
                                                          *
                                                      *******

                                                INFORMATION

                                                    COUNT ONE
                                      (Conspiracy    to Commit Mail Fraud)

            The United States Attorney for the District of Maryland charges that:

                                                    Introduction

            At all times relevant to this Information:

             I.       Defendant TYLER KHAN LIEN ("LIEN") was employed at Company A in

    Rockville, Maryland.

                                                The Conspiracv

            2.        From on or about February I, 2016, through on or about July 31, 2017, in the

    District of Maryland and elsewhere, the defendant,

                                             TYLER KHAN LIEN,

    did knowingly and willfully combine, conspire, confederate, and agree with other persons,

    known and unknown to the United States Attorney, to knowingly devise a scheme and artifice to

    defraud Company A, and to obtain money and property from Company A by means of materially

    false and fraudulent pretenses, representations, and promises ("the scheme to defraud"), and for
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the purpose of executing and attempting to execute the scheme to defraud did cause to be

delivered by the Postal Service and by private and commercial interstate carrier according to the

direction thereon, any matter or thing, in violation of 18 U.S.c.   S   1341.

                Manner and Means of the Conspiracv         and Scheme to Defraud

       3.      It was part of the conspiracy and scheme to defraud that LIEN fraudulently

represented to businesses, including cellular providers, that he was authorized by Company A to

purchase electronic devices, including iPhones, for and on behalf of Company A, when in fact

LIEN had no such authority or authorization.

       4.      It was further part of the conspiracy and scheme to defraud that LIEN purchased

numerous electronic devices from businesses, including cellular providers, and represented to

such businesses that he was purchasing these items for and on behalf of Company A.

       5.      It was further part of the conspiracy and scheme to defraud that LIEN directed

businesses from which he purchased electronic devices to bill Company A for the electronic

devices fraudulently obtained by LIEN.

       6.      It was further part of the conspiracy and scheme to defraud that LIEN took

custody of the fraudulently obtained electronic devices after these items were shipped and

delivered by the Postal Service and by private and commercial carrier.

       7.      It was further part of the conspiracy and scheme to defraud that LIEN concealed

the purchase and possession of the fraudulently obtained electronic devices from Company A.

       8.      It was further part of the conspiracy and scheme to defraud that LIEN caused the

fraudulently obtained electronic devices to be delivered by the Postal Service and by private and

commercial interstate carrier to co-conspirators in California, who in tum caused the items to be




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delivered to and for the benefit ofa co-conspirator outside of the United States, where the

devices were ultimately sold for the benefit of LIEN and co-conspirators.




18 U.S.c.   S   1349




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                                    FORFEITURE ALLEGATION

         The United States Attorney for the District of Maryland further finds that:

         I.       Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendant that the

United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C.

SS 981 and     982, 21 U.S.c.   S 853,   and 28 U.S.c.     S 2461(c),    upon the defendant's conviction on

Count One of this Information.

        2.        As a result of the offense set forth in Count One, the defendant,

                                           TYLER KHAN LIEN,

shall forfeit to the United States, pursuant to 18 U.S.c.        SS     981(a)(I)(C) and 982(a)(2), any

property, real or personal, which constitutes or is derived from proceeds traceable to such

violation.

                                              Substitute     Assets

        3.        If, as a result of any act or omission of the defendant, any such property subject to

forfeiture:

                  a.     cannot be located upon the exercise of due diligence;

                  b.     has been transferred or sold to, or deposited with, a third person;

                  c.     has been placed beyond the jurisdiction of the Court;

                  d.     has been substantially diminished in value; or

                  e.     has been commingled with other property which cannot be divided

                         without difficulty;




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it is the intent of the United States of America, pursuant to 21 U.S.C.   S 853(P),   to seek forfeiture

of any other property of said defendant up to the value of the forfeitable property.




18 U.S.C.   S 981
18 U.S.C.   S 982
21 U.S.c.   S 853
28 U.S.C.   S 2461 (c)

  'fIn hD\~                                            ~           )<.J;J ~\ /WfJ}~
Date                                                  Robert K. Hur
                                                      United States Attorney




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